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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                       :
                                                       :
    In re                                              :   Chapter 11
                                                       :
    FTX TRADING LTD., et al., 1                        :   Case No. 22-11068 (JTD)
                                                       :   (Jointly Administered)
            Debtors.                                   :
                                                       :
                                                       :   Hearing Date: May 23, 2024, at 10:00 a.m.
                                                       :   (prevailing Eastern Time)
                                                           Obj. Deadline: May 15, 2024, at 4:00 p.m.
                                                       :   (prevailing Eastern Time)
                                                       :

 NOTICE OF EXAMINER’S MOTION TO AMEND ORDER (I) (A) ESTABLISHING
 THE SCOPE, COST, DEGREE, AND DURATION OF THE EXAMINATION AND (B)
GRANTING RELATED RELIEF; AND (II) PERMITTING THE FILING OF CERTAIN
INFORMATION REGARDING POTENTIAL PARTIES IN INTEREST UNDER SEAL

             PLEASE TAKE NOTICE that on May 1, 2024, Robert J. Cleary, in his capacity as

examiner appointed in the above-captioned bankruptcy cases (the “Chapter 11 Cases”), filed the

attached Examiner’s Motion to Amend Order (the “Motion”) with the United States Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”).

             PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held on

May 23, 2024, at 10:00 a.m. (Prevailing Eastern Time) before the Honorable John T. Dorsey,

United States Bankruptcy Judge for the District of Delaware, 824 North Market Street, 5th Floor,

Courtroom 5, Wilmington, Delaware 19801.



1
         The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
are 3288 and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a
complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
noticing agent at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent
Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua
and Barbuda.
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         PLEASE TAKE FURTHER NOTICE that any responses to the Motion must be in

writing, filed with the Clerk of the Bankruptcy Court, 824 North Market Street, Third Floor,

Wilmington, Delaware 19801, and served upon the undersigned, so as to be received on or

before May 15, 2024, at 4:00 p.m. (prevailing Eastern Time).

         IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE

COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT

FURTHER NOTICE OR HEARING.

 Dated: May 1, 2024                                 Respectfully submitted,

                                                    ASHBY & GEDDES, P.A.

                                                    By: /s/ Michael D. DeBaecke
                                                    Michael D. DeBaecke (Bar No. 3186)
                                                    500 Delaware Avenue, 8th Floor
                                                    Wilmington, DE 19801
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                                                    -and-

                                                    PATTERSON BELKNAP WEBB &
                                                    TYLER LLP

                                                    Daniel A. Lowenthal (admitted pro hac vice)
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                                                    Counsel to Robert J. Cleary in his capacity
                                                    as Chapter 11 Examiner appointed in the
                                                    Chapter 11 Cases




{02011948;v1 }                                  2
